               Case 20-71636-wlh                  Doc 1     Filed 11/11/20 Entered 11/11/20 17:14:47                              Desc Main
                                                            Document      Page 1 of 38

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ashton Enterprise, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4987 Wewatta Street SW
                                  Atlanta, GA 30331
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 20-71636-wlh                  Doc 1        Filed 11/11/20 Entered 11/11/20 17:14:47                                   Desc Main
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Debtor    Ashton Enterprise, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Ashton Enterprise, Inc.                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Ashton Enterprise, Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 11, 2020
                                                  MM / DD / YYYY


                             X   /s/ Phillip Ashton Parker                                                Phillip Ashton Parker
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Paul Reece Marr GA Bar #                                              Date November 11, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Reece Marr GA Bar # 471230
                                 Printed name

                                 Paul Reece Marr, P.C.
                                 Firm name

                                 Suite 960
                                 300 Galleria Parkway, N.W.
                                 Atlanta, GA 30339
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (770) 984-2255                Email address      paul.marr@marrlegal.com

                                 GA Bar # 471230 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         Ashton Enterprise, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 11, 2020                       X /s/ Phillip Ashton Parker
                                                                       Signature of individual signing on behalf of debtor

                                                                       Phillip Ashton Parker
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
              Case 20-71636-wlh                                  Doc 1              Filed 11/11/20 Entered 11/11/20 17:14:47                                                           Desc Main
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 Fill in this information to identify the case:

 Debtor name            Ashton Enterprise, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            62,363.44


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           399,059.10


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             461,422.54




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
             Case 20-71636-wlh                        Doc 1          Filed 11/11/20 Entered 11/11/20 17:14:47           Desc Main
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 Fill in this information to identify the case:

 Debtor name         Ashton Enterprise, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
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 Debtor         Ashton Enterprise, Inc.                                                      Case number (If known)
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
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 Debtor          Ashton Enterprise, Inc.                                                                             Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                         $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
             Case 20-71636-wlh                        Doc 1           Filed 11/11/20 Entered 11/11/20 17:14:47                                Desc Main
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 Fill in this information to identify the case:

 Debtor name         Ashton Enterprise, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   National Funding, Inc.                         Describe debtor's property that is subject to a lien                   $32,363.44                      $0.00
       Creditor's Name
       David Gilbert, C.E.O.
       9820 Towne Centre Drive
       San Diego, CA 92121
       Creditor's mailing address                     Describe the lien
                                                      judgment date 6/11/19; Writ of Fi Fa filed
                                                      8/6/2020
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Prime Alliance Bank, Inc.                      Describe debtor's property that is subject to a lien                   $30,000.00                      $0.00
       Creditor's Name
       c/o Hal J. Leitman, Esq.
       2987 Clairmont Road NE;
       #175
       Atlanta, GA 30329-4406
       Creditor's mailing address                     Describe the lien
                                                      foreign judgment domesticated 01/31/2020
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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 Debtor       Ashton Enterprise, Inc.                                                           Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $62,363.44

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Prime Alliance Bank, Inc.
        Attn: Legal Dept.                                                                                 Line   2.2
        1868 South 500 West
        Woods Cross, UT 84087

        The Aubrey Law Firm, PC
        for National Funding, Inc.                                                                        Line   2.1
        12 Powder Springs St Ste 240
        Marietta, GA 30064




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Ashton Enterprise, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Georgia Department of Revenue                             Check all that apply.
           Compliance Div; ARCS-Bankrptcy                               Contingent
           1800 Century Blvd; #9100                                     Unliquidated
           Atlanta, GA 30345-3202                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     notice only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Internal Revenue Service (CIO)                            Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     notice only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 7
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 Debtor       Ashton Enterprise, Inc.                                                                 Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Acme Company                                                          Contingent
          64 Beaver Street Suite #344                                           Unliquidated
          New York, NY 10004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    account payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Advance Financial Corporation                                         Contingent
          3700 Mansell Road; Suite 550                                          Unliquidated
          Alpharetta, GA 30022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    account payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Amur Equipment Finance                                                Contingent
          PO Box 2555                                                           Unliquidated
          Grand Island, NE 68801                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    account payable
          Last 4 digits of account number       3047
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,482.29
          Bank of America                                                       Contingent
          PO Box 982238                                                         Unliquidated
          El Paso, TX 79998-2238                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    account payable
          Last 4 digits of account number       9100
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,990.84
          Bank of America                                                       Contingent
          PO Box 982238                                                         Unliquidated
          El Paso, TX 79998-2238                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    account payable
          Last 4 digits of account number       4874
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,500.00
          Bank OZK                                                              Contingent
          17901 Chenal Parkway                                                  Unliquidated
          Little Rock, AR 72223                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    equipment loan
          Last 4 digits of account number       2003
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $474.47
          BB&T                                                                  Contingent
          c/o PRC                                                               Unliquidated
          2700 Meridian Parkway Ste 200                                         Disputed
          Durham, NC 27713-2204
                                                                             Basis for the claim:    accounts payable
          Date(s) debt was incurred
          Last 4 digits of account number       7122;3684                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 7
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 Debtor       Ashton Enterprise, Inc.                                                                 Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,470.70
          BB&T                                                                  Contingent
          PO Box 1847                                                           Unliquidated
          Wilson, NC 27894-1847                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    account payable
          Last 4 digits of account number       9001
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,137.17
          Bryn Mawr Funding                                                     Contingent
          620 W. Germantown Pike                                                Unliquidated
          Suite 310                                                             Disputed
          Plymouth Meeting, PA 19462
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number       1012                         Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,191.84
          Currency Capital                                                      Contingent
          4250 N. Drinkwater Blvd                                               Unliquidated
          Suite 220                                                             Disputed
          Scottsdale, AZ 85251
                                                                             Basis for the claim:    account payable
          Date(s) debt was incurred
          Last 4 digits of account number       5568                         Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $31,353.56
          EBF Partners, LLC                                                     Contingent
          d/b/a Everest Business Funding                                        Unliquidated
          5 West 37th Street, 2nd Floor                                         Disputed
          New York, NY 10018
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,941.18
          Falcoln Leasing                                                       Contingent
          c/o American Lease Insurance                                          Unliquidated
          707 Texas Ave, Dept. E58                                              Disputed
          College Station, TX 77840
                                                                             Basis for the claim:    account payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,998.16
          Fleet 1                                                               Contingent
          c/o Greenburg Grant & Richards                                        Unliquidated
          5858 Westheimer Road                                                  Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    account payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,563.00
          Fox Capital Group                                                     Contingent
          aka Fox Business Funding                                              Unliquidated
          17640 Bentley Dr                                                      Disputed
          Morgan Hill, CA 95037-3124
                                                                             Basis for the claim:    NY judgment
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,947.84
          Fuelman Proprietary-DM                                                Contingent
          c/o Hunter Warfield                                                   Unliquidated
          PO Box 1280                                                           Disputed
          Oaks, PA 19456-1280
                                                                             Basis for the claim:    account payable
          Date(s) debt was incurred
          Last 4 digits of account number       9437                         Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,074.91
          JP Morgan Chase Bank, N.A.                                            Contingent
          PO Box 15123                                                          Unliquidated
          Wilmington, DE 19850-5123                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    credit card account
          Last 4 digits of account number       7857
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,272.25
          Kabbage, Inc.                                                         Contingent
          Rob J. Frohwein, CEO                                                  Unliquidated
          730 Peachtree St. NE, Ste 1100                                        Disputed
          Atlanta, GA 30308
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $29,453.43
          Mantis Funding, LLC
          Attn: Legal Dept.                                                     Contingent
          315 Madison Avenue, Suite 4026                                        Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was
                                                                             Basis for the claim:    business loan
          incurred 12/31/2018         NY judgment
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,000.00
          Merchant Advance, LLC                                                 Contingent
          132 West 36th Street                                                  Unliquidated
          3rd Floor                                                             Disputed
          New York, NY 10018
                                                                             Basis for the claim:    business loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          National Counsel on Comp. Ins.                                        Contingent
          Service Center                                                        Unliquidated
          901 Peninsula Corporate Circle                                        Disputed
          Boca Raton, FL 33487
                                                                             Basis for the claim:    notice only
          Date(s) debt was incurred
          Last 4 digits of account number       9979                         Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $41,703.50
          Parnell & Parnell, P.A.                                               Contingent
          for BB&T Recovery                                                     Unliquidated
          PO Box 2189                                                           Disputed
          Montgomery, AL 36102
                                                                             Basis for the claim:    accounts payable
          Date(s) debt was incurred
          Last 4 digits of account number       5998;8127                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 7
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              Name

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $8,205.96
           Prime Rate Premium Finance                                           Contingent
           PO Box 100507                                                        Unliquidated
           Florence, SC 29501-0507                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    account payable
           Last 4 digits of account number      4913
                                                                             Is the claim subject to offset?         No    Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $132,500.00
           SBA                                                                  Contingent
           Georgia District Office                                              Unliquidated
           233 Peachtree Street, NE; #190                                       Disputed
           Atlanta, GA 30303
                                                                             Basis for the claim:    COVID-19 EIDL Loan
           Date(s) debt was incurred on or about 06/15/20
           Last 4 digits of account number 0880                              Is the claim subject to offset?         No    Yes


 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $399.00
           StoneWood Insurance Company                                          Contingent
           Sarah Josselyn                                                       Unliquidated
           PO Box 97488                                                         Disputed
           Raleigh, NC 27624
                                                                             Basis for the claim:    account payable
           Date(s) debt was incurred
           Last 4 digits of account number      018A                         Is the claim subject to offset?         No    Yes


 3.25      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,287.00
           Travelers-RMD                                                        Contingent
           PO Box 5600                                                          Unliquidated
           Hartford, CT 06102-5600                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    account payable
           Last 4 digits of account number      2218
                                                                             Is the claim subject to offset?         No    Yes

 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $20,112.00
           Trenen Capital, Inc.                                                 Contingent
           40 Wall Street                                                       Unliquidated
           28th Floor                                                           Disputed
           New York, NY 10005
                                                                             Basis for the claim:    NY judgment
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No    Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Bank OZK
           PO Box 196                                                                                 Line     3.6
           Ozark, AR 72949
                                                                                                             Not listed. Explain

 4.2       BB&T
           PO Box 196                                                                                 Line     3.7
           Wilson, NC 27894-0819
                                                                                                             Not listed. Explain




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          Name and mailing address                                                               On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any
 4.3      BB&T
          PO Box 830913                                                                          Line   3.7
          Birmingham, AL 35283-0913
                                                                                                        Not listed. Explain

 4.4      C2C Resources, LLC
          Attn: Todd Tinkler                                                                     Line   3.11
          56 Perimeter Center East; #100
                                                                                                        Not listed. Explain
          Atlanta, GA 30346-2214

 4.5      Celtic Bank Corporation
          Reese S. Howell Jr., CEO                                                               Line   3.17
          268 South State Street; # 300
                                                                                                        Not listed. Explain
          Salt Lake City, UT 84111

 4.6      Commercial Finance & Leasing
          Bank of Cardiff, Inc.                                                                  Line   3.19
          12626 High Bluff Dr #370
                                                                                                        Not listed. Explain
          San Diego, CA 92130

 4.7      Commercial Finance & Leasing
          Bank of Cardiff, Inc.                                                                  Line   3.9
          12626 High Bluff Dr #370
                                                                                                        Not listed. Explain
          San Diego, CA 92130-2074

 4.8      Dept. of Justice-Tax Division
          Chief Civil Trial §, S Region                                                          Line   2.2
          POBox14198, BenFranklinStation
                                                                                                        Not listed. Explain
          Washington, DC 20044

 4.9      Enverto Investment Group LLC
          Attn: Bankruptcy Dept.                                                                 Line   3.11
          4250 N Drinkwater Blvd #220
                                                                                                        Not listed. Explain
          Scottsdale, AZ 85251-3985

 4.10     Everest Business Funding
          5 West 37th Street                                                                     Line   3.11
          Suite 1100
                                                                                                        Not listed. Explain
          New York, NY 10018

 4.11     Everest Business Funding LLC
          8200 NW 52nd Terr                                                                      Line   3.11
          Second Floor
                                                                                                        Not listed. Explain
          Miami, FL 33166-7852

 4.12     Falcoln Leasing
          a Division of Falcon N'tl Bank                                                         Line   3.12
          28 11th Ave. S.
                                                                                                        Not listed. Explain
          Saint Cloud, MN 56301

 4.13     Fuelman
          PO Box 924138                                                                          Line   3.15
          Norcross, GA 30010
                                                                                                        Not listed. Explain

 4.14     Internal Revenue Service
          401 W. Peachtree Street, N.W.                                                          Line   2.2
          Stop 334-D
                                                                                                        Not listed. Explain
          Atlanta, GA 30308




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 6 of 7
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           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.15      JP Morgan Chase Bank, N.A.
           Bankruptcy Mail Intake Team                                                           Line     3.16
           700 Kansas Lane Floor 01
                                                                                                        Not listed. Explain
           Monroe, LA 71203-4774

 4.16      Kabbage, Inc.
           925B Peachtree Street NE                                                              Line     3.17
           Suite 1688
                                                                                                        Not listed. Explain
           Atlanta, GA 30309

 4.17      KJ Insurance AGency
           PO Box 80263                                                                          Line     3.20
           Conyers, GA 30013-8263
                                                                                                        Not listed. Explain

 4.18      Mantis Funding, LLC
           64 Beaver Steet; Ste. 240                                                             Line     3.18
           New York, NY 10004
                                                                                                        Not listed. Explain

 4.19      McGriff Ins. Services
           PO Box 111                                                                            Line     3.22
           Thomaston, GA 30286
                                                                                                        Not listed. Explain

 4.20      Merchant Advance, LLC
           475 Park Avenue South                                                                 Line     3.19
           16th Floor
                                                                                                        Not listed. Explain
           New York, NY 10010-6000

 4.21      Office of the Attorney General
           State of Georgia                                                                      Line     2.1
           40 Capital Square, SW
                                                                                                        Not listed. Explain
           Atlanta, GA 30334

 4.22      Trinity Underwriting Managers
           P.O. Box 537                                                                          Line     3.22
           Pooler, GA 31322
                                                                                                        Not listed. Explain

 4.23      U.S. Attorney
           600 Richard Russell Building                                                          Line     2.2
           75 Spring Street, SW
                                                                                                        Not listed. Explain
           Atlanta, GA 30303

 4.24      U.S. Attorney General
           U.S. Department of Justice                                                            Line     2.2
           950 Pennsylvania Avenue, NW
                                                                                                        Not listed. Explain
           Washington, DC 20530-0001


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                    399,059.10

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                      399,059.10




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         Ashton Enterprise, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Ashton Enterprise, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Ashton Enterprise, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $18,300.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                 $16,804.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                                  $8,054.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Prime Alliance Bank, Inc. v.                      Motion to compel           Fulton County Superior                       Pending
               Ashton Enterprises, Inc.                          post judgment              Court                                        On appeal
               2020CV338978                                      discovery
                                                                                                                                         Concluded

       7.2.    Prime Alliance Bank, Inc. v.                      domestication of           Fulton County Superior                       Pending
               Ashton Enterprises, Inc.                          foreign judgment           Court                                        On appeal
               2020CV331305
                                                                                                                                         Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value




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 Debtor        Ashton Enterprise, Inc.                                                                      Case number (if known)



 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss       Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Paul Reece Marr, P.C.
                 Suite 960
                 300 Galleria Parkway, N.W.                          $3,000 attorney fee + $335 Petition filing
                 Atlanta, GA 30339                                   fee                                                       11/04/2020              $3,335.00

                 Email or website address
                 paul.marr@marrlegal.com

                 Who made the payment, if not debtor?
                 Phillip A. Parker, debtor's sole
                 shareholder and officer



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers         Total amount or
                                                                                                                         were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer        Total amount or
                Address                                          payments received or debts paid in exchange                was made                      value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.




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           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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          None

       Facility name and address                                      Names of anyone with                Description of the contents                   Do you still
                                                                      access to it                                                                      have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Phillip Parker
                    4987 Wewatta Street SW
                    Atlanta, GA 30331
       26a.2.       Bryan Singletary
                    Singletary Tax Solutions
                    17021 Belmont Stakes Lane
                    Charlotte, NC 28278

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Phillip Parker
                    4987 Wewatta Street SW
                    Atlanta, GA 30331

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Phillip A. Parker                              4987 Wewatta Street SW                              sole shareholder and officer          100
                                                      Atlanta, GA 30331



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


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30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      Ashton Enterprise, Inc.                                                                    Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         November 11, 2020

 /s/ Phillip Ashton Parker                                               Phillip Ashton Parker
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                        Northern District of Georgia, Atlanta Division
 In re       Ashton Enterprise, Inc.                                                                            Case No.
                                                                                     Debtor(s)                  Chapter     7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $                   3,000.00
             Prior to the filing of this statement I have received                                          $                   3,000.00
             Balance Due                                                                                    $                      0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Phillip A. Parker, debtor's sole shareholder and officer

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               representation of the debtor(s) in adversary proceedings.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     November 11, 2020                                                              /s/ Paul Reece Marr GA Bar #
     Date                                                                           Paul Reece Marr GA Bar # 471230
                                                                                    Signature of Attorney
                                                                                    Paul Reece Marr, P.C.
                                                                                    Suite 960
                                                                                    300 Galleria Parkway, N.W.
                                                                                    Atlanta, GA 30339
                                                                                    (770) 984-2255 Fax: (678) 623-5109
                                                                                    paul.marr@marrlegal.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia, Atlanta Division
 In re      Ashton Enterprise, Inc.                                                                  Case No.
                                                                                    Debtor(s)        Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       November 11, 2020                                           /s/ Phillip Ashton Parker
                                                                         Phillip Ashton Parker/CEO
                                                                         Signer/Title




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                        Acme Company
                        64 Beaver Street Suite #344
                        New York, NY 10004



                        Advance Financial Corporation
                        3700 Mansell Road; Suite 550
                        Alpharetta, GA 30022



                        Amur Equipment Finance
                        PO Box 2555
                        Grand Island, NE 68801



                        Bank of America
                        PO Box 982238
                        El Paso, TX 79998-2238



                        Bank OZK
                        17901 Chenal Parkway
                        Little Rock, AR 72223



                        Bank OZK
                        PO Box 196
                        Ozark, AR 72949



                        BB&T
                        c/o PRC
                        2700 Meridian Parkway Ste 200
                        Durham, NC 27713-2204



                        BB&T
                        PO Box 1847
                        Wilson, NC 27894-1847



                        BB&T
                        PO Box 196
                        Wilson, NC 27894-0819
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                    BB&T
                    PO Box 830913
                    Birmingham, AL 35283-0913



                    Bryn Mawr Funding
                    620 W. Germantown Pike
                    Suite 310
                    Plymouth Meeting, PA 19462



                    C2C Resources, LLC
                    Attn: Todd Tinkler
                    56 Perimeter Center East; #100
                    Atlanta, GA 30346-2214



                    Celtic Bank Corporation
                    Reese S. Howell Jr., CEO
                    268 South State Street; # 300
                    Salt Lake City, UT 84111



                    Commercial Finance & Leasing
                    Bank of Cardiff, Inc.
                    12626 High Bluff Dr #370
                    San Diego, CA 92130



                    Commercial Finance & Leasing
                    Bank of Cardiff, Inc.
                    12626 High Bluff Dr #370
                    San Diego, CA 92130-2074



                    Currency Capital
                    4250 N. Drinkwater Blvd
                    Suite 220
                    Scottsdale, AZ 85251



                    Dept. of Justice-Tax Division
                    Chief Civil Trial §, S Region
                    POBox14198, BenFranklinStation
                    Washington, DC 20044
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                    EBF Partners, LLC
                    d/b/a Everest Business Funding
                    5 West 37th Street, 2nd Floor
                    New York, NY 10018



                    Enverto Investment Group LLC
                    Attn: Bankruptcy Dept.
                    4250 N Drinkwater Blvd #220
                    Scottsdale, AZ 85251-3985



                    Everest Business Funding
                    5 West 37th Street
                    Suite 1100
                    New York, NY 10018



                    Everest Business Funding LLC
                    8200 NW 52nd Terr
                    Second Floor
                    Miami, FL 33166-7852



                    Falcoln Leasing
                    c/o American Lease Insurance
                    707 Texas Ave, Dept. E58
                    College Station, TX 77840



                    Falcoln Leasing
                    a Division of Falcon N'tl Bank
                    28 11th Ave. S.
                    Saint Cloud, MN 56301



                    Fleet 1
                    c/o Greenburg Grant & Richards
                    5858 Westheimer Road
                    Houston, TX 77057



                    Fox Capital Group
                    aka Fox Business Funding
                    17640 Bentley Dr
                    Morgan Hill, CA 95037-3124
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                    Fuelman
                    PO Box 924138
                    Norcross, GA 30010



                    Fuelman Proprietary-DM
                    c/o Hunter Warfield
                    PO Box 1280
                    Oaks, PA 19456-1280



                    Georgia Department of Revenue
                    Compliance Div; ARCS-Bankrptcy
                    1800 Century Blvd; #9100
                    Atlanta, GA 30345-3202



                    Internal Revenue Service
                    401 W. Peachtree Street, N.W.
                    Stop 334-D
                    Atlanta, GA 30308



                    Internal Revenue Service (CIO)
                    PO Box 7346
                    Philadelphia, PA 19101-7346



                    JP Morgan Chase Bank, N.A.
                    PO Box 15123
                    Wilmington, DE 19850-5123



                    JP Morgan Chase Bank, N.A.
                    Bankruptcy Mail Intake Team
                    700 Kansas Lane Floor 01
                    Monroe, LA 71203-4774



                    Kabbage, Inc.
                    Rob J. Frohwein, CEO
                    730 Peachtree St. NE, Ste 1100
                    Atlanta, GA 30308
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                    Kabbage, Inc.
                    925B Peachtree Street NE
                    Suite 1688
                    Atlanta, GA 30309



                    KJ Insurance AGency
                    PO Box 80263
                    Conyers, GA 30013-8263



                    Mantis Funding, LLC
                    Attn: Legal Dept.
                    315 Madison Avenue, Suite 4026
                    New York, NY 10017



                    Mantis Funding, LLC
                    64 Beaver Steet; Ste. 240
                    New York, NY 10004



                    McGriff Ins. Services
                    PO Box 111
                    Thomaston, GA 30286



                    Merchant Advance, LLC
                    132 West 36th Street
                    3rd Floor
                    New York, NY 10018



                    Merchant Advance, LLC
                    475 Park Avenue South
                    16th Floor
                    New York, NY 10010-6000



                    National Counsel on Comp. Ins.
                    Service Center
                    901 Peninsula Corporate Circle
                    Boca Raton, FL 33487
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                    National Funding, Inc.
                    David Gilbert, C.E.O.
                    9820 Towne Centre Drive
                    San Diego, CA 92121



                    Office of the Attorney General
                    State of Georgia
                    40 Capital Square, SW
                    Atlanta, GA 30334



                    Parnell & Parnell, P.A.
                    for BB&T Recovery
                    PO Box 2189
                    Montgomery, AL 36102



                    Prime Alliance Bank, Inc.
                    c/o Hal J. Leitman, Esq.
                    2987 Clairmont Road NE; #175
                    Atlanta, GA 30329-4406



                    Prime Alliance Bank, Inc.
                    Attn: Legal Dept.
                    1868 South 500 West
                    Woods Cross, UT 84087



                    Prime Rate Premium Finance
                    PO Box 100507
                    Florence, SC 29501-0507



                    SBA
                    Georgia District Office
                    233 Peachtree Street, NE; #190
                    Atlanta, GA 30303



                    StoneWood Insurance Company
                    Sarah Josselyn
                    PO Box 97488
                    Raleigh, NC 27624
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                    The Aubrey Law Firm, PC
                    for National Funding, Inc.
                    12 Powder Springs St Ste 240
                    Marietta, GA 30064



                    Travelers-RMD
                    PO Box 5600
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                    Washington, DC 20530-0001
             Case 20-71636-wlh                        Doc 1           Filed 11/11/20 Entered 11/11/20 17:14:47              Desc Main
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                                                               United States Bankruptcy Court
                                                        Northern District of Georgia, Atlanta Division
 In re      Ashton Enterprise, Inc.                                                                          Case No.
                                                                                   Debtor(s)                 Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Ashton Enterprise, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 11, 2020                                                     /s/ Paul Reece Marr GA Bar #
 Date                                                                  Paul Reece Marr GA Bar # 471230
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Ashton Enterprise, Inc.
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